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11   COMPANY, INC., and APPLE CSC INC.

12

13                                UNITED STATES DISTRICT COURT

14                             NORTHERN DISTRICT OF CALIFORNIA

15

16   PATRICIA SUE ADKINS, JENNIFER                        Case No.      3:14-cv-01619-WHO
     GALINDO, and FABRIENNE ENGLISH,
17   on behalf of themselves and all others               STIPULATED PROTECTIVE
     similarly situated,                                  ORDER REGARDING THE
18                                                        DISCLOSURE AND USE OF
                           Plaintiffs,                    DISCOVERY MATERIALS
19
            v.                                            Courtroom 2, 17th Floor
20                                                        Judge William H. Orrick
     APPLE INC., APPLECARE SERVICE
21   COMPANY, INC., and APPLE CSC INC.,                   Complaint Filed: November 4, 2013
     Defendants.                                          Transfer to N.D. Cal.: April 3, 2014
22                                                        Trial Date: August 15, 2016
23

24

25

26
27

28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO
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 1
             Plaintiffs Patricia Sue Adkins, Jennifer Galindo, and Fabrienne English (“Plaintiffs”), and
 2
     Defendants Apple Inc., AppleCare Service Company, Inc., and Apple CSC Inc. (“Defendants”)
 3
     anticipate that documents, testimony, or information containing or reflecting confidential,
 4
     proprietary, trade secret, and/or commercially sensitive information are likely to be disclosed
 5
     or produced during the course of discovery, initial disclosures, and supplemental disclosures
 6
     in this case and request that the Court enter this Order setting forth the conditions for treating,
 7
     obtaining, and using such information.
 8
             Pursuant to Federal Rule of Civil Procedure 26(c), the Court finds good cause for the
 9
     following Agreed Protective Order Regarding the Disclosure and Use of Discovery Materials
10
     (“Order” or “Protective Order”).
11
             1.      PURPOSES AND LIMITATIONS
12
                     (a)     Protected Material designated under the terms of this Protective Order shall
13
     be used by a Receiving Party solely for this case, and shall not be used directly or indirectly for
14
     any other purpose whatsoever.
15
                     (b)     The Parties acknowledge that this Order does not confer blanket
16
     protections on all disclosures or responses to discovery and that the protection it affords from
17
     public disclosure and use extends only to the limited information or items that are entitled to
18
     confidential treatment under the applicable legal principles. The parties further acknowledge, as
19
     set forth in Section 13, below, that this Stipulated Protective Order does not entitle them to file
20
     confidential information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
21
     followed and the standards that will be applied when a party seeks permission from the court to
22
     file material under seal. If it comes to a Designating Party’s attention that designated material
23
     does not qualify for protection at all, or does not qualify for the level of protection initially
24
     asserted, the Designating Party must promptly notify all other Parties that it is withdrawing or
25
     changing the designation.
26
                     (c)     Each Party or Non-Party that designates information or items for protection
27
     under this Order must take care to limit any such designation to specific material that qualifies
28
     [PROPOSED] STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                            1
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 1
     under the appropriate standards. To the extent it is practical to do so, the Designating Party must
 2
     designate for protection only those parts of material, documents, items, or oral or written
 3
     communications that qualify – so that other portions of the material, documents, items, or
 4
     communications for which protection is not warranted are not swept unjustifiably within the
 5
     ambit of this Order. Mass, indiscriminate, or routinized designations are prohibited.
 6
     Designations that are shown to be clearly unjustified or that have been made for an improper
 7
     purpose (e.g., to unnecessarily encumber or retard the case development process or to impose
 8
     unnecessary expenses and burdens on other parties) expose the Designating Party to sanctions.
 9
            2.      DEFINITIONS
10
                    (a)     “Discovery Material” means all items or information, including from any
11
     non-party, regardless of the medium or manner generated, stored, or maintained (including,
12
     among other things, testimony, transcripts, or tangible things) that are produced, disclosed, or
13
     generated in connection with discovery or Rule 26(a) disclosures in this case, as well as any
14
     information copied or extracted therefrom, and any copies, excerpts, summaries, or compilations
15
     thereof.
16
                    (b)     “Outside Counsel” means (i) outside counsel who appear on the pleadings
17
     as counsel for a Party and (ii) partners, associates, and staff of such counsel to whom it is
18
     necessary to disclose the information for this litigation.
19
                    (c)     “Party” means any party to this case, including all of its officers, directors,
20
     employees, consultants, retained experts, and outside counsel and their support staffs.
21
                    (d)     “Producing Party” means any Party or non-party that discloses or produces
22
     any Discovery Material in this case.
23
                    (e)     “Protected Material” means any Discovery Material that is designated as
24
     “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” as
25
     provided for in this Order, as well as any information copied or extracted therefrom, and any
26
     copies, excerpts, summaries, or compilations thereof. Protected Material shall not include:
27

28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                            2
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 1
     (i) advertising materials that have been actually published or publicly disseminated; and
 2
     (ii) materials that show on their face they have been disseminated to the public.
 3
                    (f)     “Designating Party” means any Party or non-party that designates any
 4
     Discovery Material as Protected Material.
 5
                    (g)     “Receiving Party” means any Party who receives Discovery Material from
 6
     a Producing Party.
 7
            3.      COMPUTATION OF TIME
 8
            The computation of any period of time prescribed or allowed by this Order shall be
 9
     governed by the provisions for computing time set forth in Federal Rule of Civil Procedure 6.
10
            4.      SCOPE
11
                    (a)     The protections conferred by this Order cover not only Discovery Material
12
     governed by this Order as addressed herein, but also any information copied or extracted
13
     therefrom, as well as all copies, excerpts, summaries, or compilations thereof, plus testimony,
14
     conversations, or presentations by Parties or their counsel in court or in other settings that might
15
     reveal Protected Material.
16
                    (b)     Nothing in this Protective Order shall prevent or restrict a Producing
17
     Party’s own disclosure or use of its own Protected Material for any purpose, and nothing in this
18
     Order shall preclude any Producing Party from showing its Protected Material to an individual
19
     who prepared the Protected Material.
20
                    (c)     Nothing in this Order shall be construed to prejudice any Party’s right to
21
     use any Protected Material in court or in any court filing with the consent of the Producing Party
22
     and the Designating Party or by order of the Court.
23
                    (d)     This Order is without prejudice to the right of any Party to seek further or
24
     additional protection of any Discovery Material or seek to modify this Order in any way,
25
     including, without limitation, an order that certain matter not be produced at all.
26
                    (e)     The Parties agree that this Protective Order does not address the production
27
     of source code (including computer code, scripts, assembly, object code, source code listings and
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                             3
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 1
     descriptions of source code, object code listings and descriptions of object code, and Hardware
 2
     Description Language (HDL) or Register Transfer Level (RTL) files that describe the hardware
 3
     design of any ASIC or other chip). The Parties further agree that, at this time, Plaintiffs do not
 4
     anticipate propounding any discovery specifically requesting the production of Apple’s source
 5
     code, and Apple agrees that none of its responses to Plaintiffs’ discovery served as of the date of
 6
     this Order requires the production of source code. To the extent Apple determines that its
 7
     responses to any discovery subsequently served by Plaintiffs would reveal or require the
 8
     production of source code, Apple shall promptly provide notice of same to Plaintiffs. To the
 9
     extent Plaintiffs specifically request in discovery for Apple to reveal or produce Apple’s source
10
     code, Plaintiffs shall promptly provide notice of same to Apple. Within fourteen (14) days of
11
     either such notice, the Parties shall meet and confer regarding the negotiation of a protective order
12
     governing the production of source code. If the Parties are unable to reach agreement as to an
13
     acceptable protective order, Apple shall move the Court for protective order addressing the
14
     potential production of its source code and materials related to its source code.
15
            5.      DURATION
16
            Even after final disposition of this litigation, the confidentiality obligations imposed by
17
     this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court
18
     order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all
19
     claims and defenses in this action, with or without prejudice; and (2) final judgment herein after
20
     the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,
21
     including the time limits for filing any motions or applications for extension of time pursuant to
22
     applicable law.
23
            6.      ACCESS TO AND USE OF PROTECTED MATERIAL
24
                    (a)     Basic Principles. All Protected Material shall be used solely for this case
25
     or any related appellate proceeding, and not for any other purpose whatsoever, including without
26
     limitation any other litigation, patent prosecution or acquisition, patent reexamination or reissue
27

28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                            4
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 1
     proceedings, or any business or competitive purpose or function. Protected Material shall not be
 2
     distributed, disclosed, or made available to anyone except as expressly provided in this Order.
 3
                    (b)     Secure Storage. Protected Material must be stored and maintained by a
 4
     Receiving Party at a location and in a secure manner that ensures that access is limited to the
 5
     persons authorized under this Order.
 6
                    (c)     Legal Advice Based on Protected Material. Nothing in this Protective
 7
     Order shall be construed to prevent counsel from advising their clients with respect to this case
 8
     based in whole or in part upon Protected Materials, provided counsel does not disclose the
 9
     Protected Material itself except as provided in this Order.
10
                    (d)     Limitations. Nothing in this Order shall restrict in any way a Producing
11
     Party’s use or disclosure of its own Protected Material. Nothing in this Order shall restrict in any
12
     way the use or disclosure of Discovery Material by a Receiving Party: (i) that is or has become
13
     publicly known through no fault of the Receiving Party; (ii) that is lawfully acquired by or
14
     lawfully known to the Receiving Party independent of the Producing Party; (iii) previously
15
     produced, disclosed and/or provided by the Producing Party to the Receiving Party or a non-
16
     party without an obligation of confidentiality and not by inadvertence or mistake; (iv) with the
17
     consent of the Producing Party; or (v) pursuant to order of the Court.
18
            7.      DESIGNATING PROTECTED MATERIAL
19
                    (a)     Available Designations. Any Party may designate Discovery Material with
20
     any of the following designations, provided that it meets the requirements for such designations
21
     as provided for herein: “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
22
     EYES ONLY.”
23
                    (b)     Written Discovery and Documents and Tangible Things. Written
24
     discovery, documents (which include “electronically stored information,” as that phrase is used in
25
     Federal Rule of Procedure 34), and tangible things that meet the requirements for the
26
     confidentiality designations listed in Paragraph 7(a) may be so designated by placing the
27
     appropriate designation on every page of the written material prior to production. For digital files
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
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 1
     being produced, the Designating Party may mark each viewable page or image with the
 2
     appropriate designation, and mark the medium, container, and/or communication in which the
 3
     digital files were contained. In the event that original documents are produced for inspection, the
 4
     original documents shall be presumed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 5
     ONLY” during the inspection and re-designated, as appropriate during the copying process.
 6
                    (c)     Native Files. Where electronic files and documents are produced in native
 7
     electronic format, such electronic files and documents shall be designated for protection under
 8
     this Order by appending to the file names or designators information indicating whether the file
 9
     contains “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
10
     material, or shall use any other reasonable method for so designating Protected Materials
11
     produced in electronic format. When electronic files or documents are printed for use at
12
     deposition, in a court proceeding, or for provision in printed form to an expert or consultant pre-
13
     approved pursuant to Paragraph 10, the party printing the electronic files or documents shall affix
14
     a legend to the printed document corresponding to the designation of the Designating Party and
15
     including the production number and designation associated with the native file. No one shall
16
     seek to use in this litigation a .tiff, .pdf, or other image format version of a document produced in
17
     native file format without first (1) providing a copy of the image format version to the Producing
18
     Party so that the Producing Party can review the image to ensure that no information has been
19
     altered, and (2) obtaining the consent of the Producing Party, which consent shall not be
20
     unreasonably withheld.
21
                    (d)     Depositions and Testimony. Parties or testifying persons or entities may
22
     designate depositions and other testimony with the appropriate designation by indicating on the
23
     record at the time the testimony is given or by sending written notice of how portions of the
24
     transcript of the testimony is designated within thirty (30) days of receipt of the transcript of the
25
     testimony. If no indication on the record is made, all information disclosed during a deposition
26
     shall be deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” until the time
27
     within which it may be appropriately designated as provided for herein has passed. Any Party
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
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 1
     that wishes to disclose the transcript, or information contained therein, may provide written notice
 2
     of its intent to treat the transcript as non-confidential, after which time, any Party that wants to
 3
     maintain any portion of the transcript as confidential must designate the confidential portions
 4
     within fourteen (14) days, or else the transcript may be treated as non-confidential. Any
 5
     Protected Material that is used in the taking of a deposition shall remain subject to the provisions
 6
     of this Protective Order, along with the transcript pages of the deposition testimony dealing with
 7
     such Protected Material. In such cases the court reporter shall be informed of this Protective
 8
     Order and shall be required to operate in a manner consistent with this Protective Order. In the
 9
     event the deposition is videotaped, the original and all copies of the videotape shall be marked by
10
     the video technician to indicate that the contents of the videotape are subject to this Protective
11
     Order, substantially along the lines of “This videotape contains confidential testimony used in
12
     this case and is not to be viewed or the contents thereof to be displayed or revealed except
13
     pursuant to the terms of the operative Protective Order in this matter or pursuant to written
14
     stipulation of the parties.” Counsel for any Producing Party or Designating Party shall have
15
     the right to exclude from oral depositions, other than the deponent, deponent’s counsel, the
16
     reporter and videographer (if any), any person who is not authorized by this Protective Order
17
     to receive or access Protected Material based on the designation of such Protected Material.
18
     Such right of exclusion shall be applicable only during periods of examination or testimony
19
     regarding such Protected Material.
20
            8.      DISCOVERY MATERIAL DESIGNATED AS “CONFIDENTIAL”
21
                    (a)     A Party may designate Discovery Material as “CONFIDENTIAL” if it
22
     contains or reflects confidential, proprietary, and/or commercially sensitive information.
23
                    (b)     Unless otherwise ordered by the Court, Discovery Material designated as
24
     “CONFIDENTIAL” may be disclosed only to the following:
25
                            (i)     The Receiving Party’s Outside Counsel, such counsel’s immediate
26
     paralegals and staff, and any copying or clerical litigation support services working at the
27

28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                             7
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 1
     direction of such counsel, paralegals, and staff, provided that each such person has agreed to be
 2
     bound by the provisions of the Protective Order by signing a copy of Exhibit A-1;
 3
                            (ii)    Not more than three (3) representatives of the Receiving Party who
 4
     are officers or employees of the Receiving Party, who may be, but need not be, in-house counsel
 5
     for the Receiving Party, as well as their immediate paralegals and staff, to whom disclosure is
 6
     necessary for this case, provided that each such person has agreed to be bound by the provisions
 7
     of the Protective Order by signing a copy of Exhibit A-1;
 8
                            (iii)   Any outside expert or consultant retained by the Receiving Party to
 9
     assist in this action, provided that disclosure is only to the extent necessary to perform such
10
     work; and provided that: (a) such expert or consultant has agreed to be bound by the provisions
11
     of the Protective Order by signing a copy of Exhibit A-2; (b) such expert or consultant is not a
12
     current officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at
13
     the time of retention to become an officer, director or employee of a Party or of a competitor of a
14
     Party; and (c) such expert or consultant otherwise complies with the requirements set forth in
15
     Paragraph 10.
16
                            (iv)    Court reporters, stenographers and videographers retained to record
17
     testimony taken in this action;
18
                            (v)     The Court, jury, and court personnel;
19
                            (vi)    Graphics, translation, design, litigation and discovery support,
20
     and/or trial consulting personnel, having first agreed to be bound by the provisions of the
21
     Protective Order by signing a copy of Exhibit A-1;
22
                            (vii)   Mock jurors who have signed an undertaking or agreement agreeing
23
     not to publicly disclose Protected Material and to keep any information concerning Protected
24
     Material confidential, and having first agreed to be bound by the provisions of the Protective
25
     Order by signing a copy of Exhibit A-1;
26
27

28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
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 1
                             (viii) Any mediator who is assigned to hear this matter, and his or her
 2
     staff, subject to their agreement to maintain confidentiality to the same degree as required by this
 3
     Protective Order; and
 4
                             (ix)   Any other person with the prior written consent of the Producing
 5
     Party and the Designating Party.
 6
            9.      DISCOVERY MATERIAL DESIGNATED AS “HIGHLY CONFIDENTIAL
 7                  –ATTORNEYS’ EYES ONLY”

 8
                    (a)      A Party may designate Discovery Material as “HIGHLY CONFIDENTIAL
 9
     – ATTORNEYS’ EYES ONLY” if it contains or reflects information that is extremely
10
     confidential and/or sensitive in nature and the Party reasonably believes that the disclosure of
11
     such Discovery Material is likely to cause economic harm or significant competitive disadvantage
12
     to the Party. The Parties agree that the following information, if non-public, shall be presumed to
13
     merit the “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” designation: trade
14
     secrets, pricing information, financial data, sales information, sales or marketing forecasts or
15
     plans, business plans, sales or marketing strategy, product development information, engineering
16
     documents, testing documents, employee information, and other non-public information of
17
     similar competitive and business sensitivity.
18
                    (b)      Unless otherwise ordered by the Court, Discovery Material designated as
19
     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” may be disclosed only to:
20
                             (i)    The Receiving Party’s Outside Counsel, provided that such Outside
21
     Counsel is not involved in competitive decision-making, as defined by U.S. Steel v. United States,
22
     730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984) (“a counsel’s activities, association, and relationship
23
     with a client that are such as to involve counsel’s advice and participation in any or all of the
24
     client’s decisions (pricing, product design, etc.) made in light of similar or corresponding
25
     information about a competitor”), on behalf of a Party or a competitor of a Party, and such
26
     Outside Counsel’s immediate paralegals and staff, and any copying or clerical litigation support
27
     services working at the direction of such counsel, paralegals, and staff;
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
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 1
                             (ii)    Any outside expert or consultant retained by the Receiving Party to
 2
     assist in this action, provided that disclosure is only to the extent necessary to perform such
 3
     work; and provided that: (a) such expert or consultant has agreed to be bound by the provisions
 4
     of the Protective Order by signing a copy of Exhibit A-2; (b) such expert or consultant is not a
 5
     current officer, director, or employee of a Party or of a competitor of a Party, nor anticipated
 6
     at the time of retention to become an officer, director, or employee of a Party or of a
 7
     competitor of a Party; (c) such expert or consultant is not involved in competitive decision -
 8
     making, as defined by U.S. Steel v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984)
 9
     (“a counsel’s activities, association, and relationship with a client that are such as to involve
10
     counsel’s advice and participation in any or all of the client’s decisions made in light of
11
     similar or corresponding information about a competitor”), on behalf of a Party or a
12
     competitor of a Party; and (d) such expert or consultant otherwise complies with the
13
     requirements set forth in Paragraph 10;
14
                             (iii)   Court reporters, stenographers and videographers retained to record
15
     testimony taken in this action;
16
                             (iv)    The Court, jury, and court personnel;
17
                             (v)     Graphics, translation, design, litigation and discovery support,
18
     and/or trial consulting personnel, having first agreed to be bound by the provisions of the
19
     Protective Order by signing a copy of Exhibit A-1;
20
                             (vi)    Any mediator who is assigned to hear this matter, and his or her
21
     staff, subject to their agreement to maintain confidentiality to the same degree as required by this
22
     Protective Order; and
23
                             (vii)   Any other person with the prior written consent of the Producing
24
     Party and the Designating Party.
25
            10.     PROCEDURES FOR DISCLOSURE
26
                    (a)      General Procedure for Disclosure of “CONFIDENTIAL” or “HIGHLY
27
     CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items:
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
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 1
                             (i)     Before any information or item designated “CONFIDENTIAL,” or
 2
     substance or summary thereof, shall be disclosed to the persons or entities identified in
 3
     subparagraphs (ii), (iv), (v), (vi), (viii), and (ix) of paragraph 8(b) above, the Parties are hereby
 4
     ordered to tender a copy of this Stipulation and Protective Order to each such person and witness
 5
     in order that each such entity or person to whom such disclosure of “CONFIDENTIAL”
 6
     information or item is made shall be on notice and fully informed that the existence and substance
 7
     of the Stipulation and Protective Order is, and is intended to be, equally binding upon it, him or
 8
     her. Before any information or item designated “CONFIDENTIAL,” or substance or summary
 9
     thereof, is disclosed to any such person, each such person shall sign and abide by the terms of the
10
     “Acknowledgment of Confidentiality and Agreement to Be Bound by Protective Order,” attached
11
     hereto as Exhibit A-1, or, if the person to whom the “CONFIDENTIAL” information or item is to
12
     be disclosed is an expert, that person shall sign and abide by the terms of the “Expert/Consultant
13
     Acknowledgment of Confidentiality and Agreement to Be Bound by Protective Order,” attached
14
     hereto as Exhibit A-2, and shall otherwise comply with the requirements of Paragraph 10(c). The
15
     person to whom the “CONFIDENTIAL” information or item is disclosed shall not give, show, or
16
     otherwise divulge any of the “CONFIDENTIAL” information or item to any entity or person
17
     except as specifically provided for by this Stipulation and Protective Order.
18
                             (ii)    Before any information or item designated “HIGHLY
19
     CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or substance or summary thereof, shall be
20
     disclosed to the persons or entities identified in sub-paragraphs (iii), (iv), (v), (vii) and (viii) of
21
     paragraph 9(b) above, the Parties are hereby ordered to tender a copy of this Stipulation and
22
     Protective Order to each such person and witness in order that each such entity or person to whom
23
     such disclosure of “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY” information or
24
     item is made shall be on notice and fully informed that the existence and substance of the
25
     Stipulation and Protective Order is, and is intended to be, equally binding upon it, him or her.
26
     Before any information or item designated “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES
27
     ONLY,” or substance or summary thereof, is disclosed to any such person, each such person shall
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                                11
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 1
     sign and abide by the terms of the “Acknowledgment of Confidentiality and Agreement to Be
 2
     Bound by Protective Order,” attached hereto as Exhibit A-1, or, if the person to whom the
 3
     “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY” information or item is to be
 4
     disclosed is an expert, that person shall sign and abide by the terms of the “Expert/Consultant
 5
     Acknowledgment of Confidentiality and Agreement to Be Bound by Protective Order,” attached
 6
     hereto as Exhibit A-2, and shall otherwise comply with the requirements of Paragraph 10(c). The
 7
     person to whom the “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY” information
 8
     or item is disclosed shall not give, show, or otherwise divulge any of the “HIGHLY
 9
     CONFIDENTIAL - ATTORNEYS’ EYES ONLY” information to any entity or person except as
10
     specifically provided for by this Stipulation and Protective Order.
11
                    (b)     Procedure for Disclosure of “CONFIDENTIAL” Information or Items to
12
     Mock Jurors:
13
                            (i)    A Receiving Party may disclose to mock jurors materials prepared
14
     by its outside counsel that are derived from information or items designated “CONFIDENTIAL”
15
     (but not materials that are derived from information or items designated “HIGHLY
16
     CONFIDENTIAL – ATTORNEYS’ EYES ONLY”), so long as the derivative materials do not
17
     include the as produced information itself. Before providing such material to a mock juror, the
18
     Receiving Party must, in compliance with Paragraph 8(b)(vii) above, tender a copy of this
19
     Stipulation and Protective Order to each mock juror in order that each person to whom such
20
     disclosure is made shall be on notice and fully informed that the existence and substance of the
21
     Stipulation and Protective Order is, and is intended to be, equally binding upon it, him or her, as
22
     well as upon the Parties and their counsel. Before any materials prepared by outside counsel that
23
     are derived from information or items designated “CONFIDENTIAL” are disclosed to a mock
24
     juror, each such person shall sign and abide by the terms of the “Acknowledgment of
25
     Confidentiality and Agreement to Be Bound by Protective Order,” attached hereto as Exhibit A-1.
26
     The mock juror to whom the material is disclosed shall not give, show, or otherwise divulge any
27

28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                         12
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 1
     of the information contained therein to any entity or person except as specifically provided for by
 2
     this Stipulation and Protective Order.
 3
                            (ii)    The Parties agree that this Protective Order does not address the
 4
     disclosure to mock jurors of materials prepared by the Receiving Party’s outside counsel that are
 5
     derived from information or items designated “HIGHLY CONFIDENTIAL – ATTORNEYS’
 6
     EYES ONLY.” To the extent the Receiving Party determines that disclosure to mock jurors of
 7
     materials prepared by its outside counsel that are derived from information or items designated
 8
     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” becomes necessary, such Party
 9
     shall promptly provide notice to the opposing Party. Within fourteen (14) days of such notice, the
10
     Parties shall meet and confer regarding the negotiation of a protective order governing the
11
     disclosure of materials that are derived from information or items designated “HIGHLY
12
     CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to mock jurors. If the Parties are unable to
13
     reach agreement as to an acceptable protective order, the Parties shall submit their dispute to the
14
     Court, in compliance with Court rules and standing orders.
15
                    (c)     Procedure for Disclosure of “CONFIDENTIAL” or “HIGHLY
16
     CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items to Experts:
17
                            (i)     Before any “CONFIDENTIAL” OR “HIGHLY CONFIDENTIAL-
18
     ATTORNEYS’ EYES ONLY” information, or substance or summary thereof, shall be disclosed
19
     to an Expert, the Expert shall sign and abide by the terms of the “Expert/Consultant
20
     Acknowledgment of Confidentiality and Agreement to Be Bound by Protective Order,” attached
21
     as Exhibit A-2, confirming that he or she is not presently employed by, and within the one year
22
     prior to the date of retention as an Expert in these proceedings has not been employed by, has not
23
     provided any form of consulting services to, and has not been and does not anticipate becoming
24
     an officer or director or otherwise be involved with decision-making for, any companies or
25
     entities engaged in the manufacture, sale, or distribution of products that compete with Apple’s
26
     iPhone, iPad, iPod, and Mac products. During the pendency of and for a period of two (2) years
27
     after the final resolution of this action, including all appeals, the Party seeking to disclose
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                         13
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 1
     Protected Material shall immediately (upon learning of same) provide written notice of any
 2
     change with respect to the Expert’s involvement in the areas at issue with respect to accepting
 3
     employment or consulting work for a company manufacturing , selling, or distributing products
 4
     that compete with Apple’s iPhone, iPad, iPod, and Mac products.
 5
                            (ii)    Within fourteen (14) days of receipt of the written notice of the
 6
     change with respect to the Expert’s involvement in the areas at issue (e.g., she or he is
 7
     contemplating accepting employment or consulting for any companies or entities engaged in the
 8
     manufacture, sale, or distribution of products that compete with Apple’s iPhone, iPad, iPod, and
 9
     Mac products) referenced in subparagraph (i) of Paragraph 10(c), the Producing Party or Parties
10
     may object in writing to the Expert for good cause. In the absence of an objection at the end of
11
     the fourteen (14) day period, the Expert shall be deemed permitted to continue as expert and
12
     approved under this Protective Order. There shall be no further disclosure of Protected Material
13
     to the Expert prior to expiration of this fourteen (14) day period. If the Producing Party objects to
14
     disclosure to the Expert within such fourteen (14) day period, the Parties shall meet and confer
15
     via telephone or in person within seven (7) days following the objection and attempt in good faith
16
     to resolve the dispute on an informal basis. If the dispute is not resolved, the Party objecting to
17
     the continuation of the Expert in this case, will have seven (7) days from the date of the meet and
18
     confer to seek relief from the Court barring the Expert from further work and from access to the
19
     Highly Confidential documents. If relief is not sought from the Court within that time, the
20
     objection shall be deemed withdrawn. If relief is sought, designated materials shall not be
21
     disclosed to the Expert in question until the Court resolves the objection.
22
                            (iii)   For purposes of this section, “good cause” shall include an
23
     objectively reasonable concern that the Expert will, advertently or inadvertently, use or disclose
24
     Discovery Materials in a way or ways that are inconsistent with the provisions contained in this
25
     Order.
26
                            (iv)    An initial failure to object to an Expert under this Paragraph 10
27
     shall not preclude the non-objecting Party from later objecting to continued access by that Expert
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                            14
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 1
     for good cause. If an objection is made, the Parties shall meet and confer via telephone or in
 2
     person within seven (7) days following the objection and attempt in good faith to resolve the
 3
     dispute informally. If the dispute is not resolved, the Party objecting to the disclosure will have
 4
     seven (7) days from the date of the meet and confer to seek relief from the Court. The designated
 5
     Expert may continue to have access to information that was provided to such Expert prior to the
 6
     date of the objection. If a later objection is made, no further Protected Material shall be disclosed
 7
     to the Expert until the Court resolves the matter or the Producing Party withdraws its objection.
 8
     Notwithstanding the foregoing, if the Producing Party fails to move for a protective order within
 9
     seven (7) business days after the meet and confer, further Protected Material may thereafter be
10
     provided to the Expert.
11
                     (d)    The Party’s Counsel who discloses “CONFIDENTIAL” or “HIGHLY
12
     CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Material shall be responsible for assuring
13
     compliance with the terms of this Stipulation and Protective Order with respect to persons to
14
     whom such Protected Material is disclosed and shall obtain and retain the originals of the
15
     “Acknowledgment of Confidentiality and Agreement to Be Bound by Protective Order” and
16
     “Expert/Consultant Acknowledgment of Confidentiality and Agreement to Be Bound by
17
     Protective Order” (if such execution was required by terms of this Stipulation and Protective
18
     Order).
19
               11.   CHALLENGING DESIGNATIONS OF PROTECTED MATERIAL
20
                     (a)    Any Party or Non-Party may challenge a designation of confidentiality at
21
     any time. Unless a prompt challenge to a Designating Party’s confidentiality designation is
22
     necessary to avoid foreseeable, substantial unfairness, unnecessary economic burdens, or a
23
     significant disruption or delay of the litigation, a Party does not waive its right to challenge a
24
     confidentiality designation by electing not to mount a challenge promptly after the original
25
     designation is disclosed.
26
                     (b)    The Challenging Party shall initiate the dispute resolution process by
27
     providing written notice of each designation it is challenging and describing the basis for each
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
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 1
     challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must
 2
     recite that the challenge to confidentiality is being made in accordance with this specific
 3
     paragraph of the Protective Order. The parties shall attempt to resolve each challenge in good
 4
     faith and must begin the process by conferring directly (in voice to voice dialogue; other forms of
 5
     communication are not sufficient) within 14 days of the date of service of notice. In conferring,
 6
     the Challenging Party must explain the basis for its belief that the confidentiality designation was
 7
     not proper and must give the Designating Party an opportunity to review the designated material,
 8
     to reconsider the circumstances, and, if no change in designation is offered, to explain the basis
 9
     for the chosen designation. A Challenging Party may proceed to the next stage of the challenge
10
     process only if it has engaged in this meet and confer process first or establishes that the
11
     Designating Party is unwilling to participate in the meet and confer process in a timely manner.
12
                    (c)       If the Parties cannot resolve a challenge without court intervention, the
13
     Designating Party shall file and serve a motion to retain confidentiality under Civil Local Rule 7
14
     (and in compliance with Civil Local Rule 79-5, if applicable) within 21 days of the initial notice
15
     of challenge or within 14 days of the parties agreeing that the meet and confer process will not
16
     resolve their dispute, whichever is later. Each party reserves the right, in the event that the other
17
     party makes multiple challenges, to seek relief from the Court to shift the burden to file a motion
18
     challenging the designation to the Challenging Party. The parties agree to meet and confer before
19
     seeking such relief. If the burden to file a motion shifts, the burden of persuasion will remain on
20
     the Designating Party.
21
            Each such motion must be accompanied by a competent declaration affirming that the
22
     movant has complied with the meet and confer requirements imposed in the preceding paragraph.
23
     Failure by the Designating Party to make such a motion including the required declaration within
24
     21 days (or 14 days, if applicable) shall automatically waive the confidentiality designation for
25
     each challenged designation. In addition, the Challenging Party may file a motion challenging a
26
     confidentiality designation at any time if there is good cause for doing so, including a challenge to
27
     the designation of a deposition transcript or any portions thereof. Any motion brought pursuant
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
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 1
     to this provision must be accompanied by a competent declaration affirming that the movant has
 2
     complied with the meet and confer requirements imposed by the preceding paragraph.
 3
            The burden of persuasion in any such challenge proceeding shall be on the Designating
 4
     Party. Frivolous challenges and those made for an improper purpose (e.g., to harass or impose
 5
     unnecessary expenses and burdens on other parties) may expose the Challenging Party to
 6
     sanctions. Unless the Designating Party has waived the confidentiality designation by failing to
 7
     file a motion to retain confidentiality as described above, all parties shall continue to afford the
 8
     material in question the level of protection to which it is entitled under the Designating Party’s
 9
     designation until the court rules on the challenge
10
            12.     SUBPOENAS OR COURT ORDERS
11
                    (a)     If at any time Protected Material is subpoenaed by any court, arbitral,
12
     administrative, or legislative body, the Party to whom the subpoena or other request is directed
13
     shall immediately give prompt written notice thereof to every Party who has produced such
14
     Discovery Material and to its counsel and shall provide each such Party with an opportunity to
15
     move for a protective order regarding the production of Protected Materials implicated by the
16
     subpoena.
17
            13.     FILING PROTECTED MATERIAL
18
                    (a)     Without written permission from the Designating Party or a court order
19
     secured after appropriate notice to all interested persons, a Receiving Party may not file or
20
     disclose in the public record in this action any Protected Material. A Party that seeks to file under
21
     seal any Protected Material must comply with Civil Local Rule 79-5. Protected Material may
22
     only be filed under seal pursuant to a court order authorizing the sealing of the specific Protected
23
     Material at issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue only upon a
24
     request establishing that the Protected Material at issue is privileged, protectable as a trade secret,
25
     or otherwise entitled to protection under the law. If a Receiving Party’s request to file Protected
26
     Material under seal pursuant to Civil Local Rule 79-5(e) is denied by the court, then the
27

28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                             17
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 1
     Receiving Party may file the Protected Material in the public record pursuant to Civil Local Rule
 2
     79-5(e)(2) unless otherwise instructed by the court.
 3
            14.     INADVERTENT DISCLOSURE OF PRIVILEGED MATERIAL
 4
                    (a)     The inadvertent production by a Party of Discovery Material subject to the
 5
     attorney-client privilege, work-product protection, or any other applicable privilege or protection,
 6
     despite the Producing Party’s reasonable efforts to prescreen such Discovery Material prior to
 7
     production, will not waive the applicable privilege and/or protection if a request for return of such
 8
     inadvertently produced Discovery Material is made promptly after the Producing Party learns of
 9
     its inadvertent production.
10
                    (b)     Upon a request from any Producing Party who has inadvertently produced
11
     Discovery Material that it believes is privileged and/or protected, each Receiving Party shall
12
     immediately return such Protected Material or Discovery Material and all copies to the Producing
13
     Party, except for any pages containing privileged markings by the Receiving Party which shall
14
     instead be destroyed and certified as such by the Receiving Party to the Producing Party.
15
                    (c)     Nothing herein shall prevent the Receiving Party from preparing a record
16
     for its own use containing the date, author, addresses, and topic of the inadvertently produced
17
     Discovery Material and such other information as is reasonably necessary to identify the
18
     Discovery Material and describe its nature to the Court in any motion to compel production of the
19
     Discovery Material.
20
            15.     INADVERTENT FAILURE TO DESIGNATE PROPERLY
21
                    (a)     The inadvertent failure by a Producing Party to designate Discovery
22
     Material as Protected Material with one of the designations provided for under this Order shall
23
     not waive any such designation provided that the Producing Party notifies all Receiving Parties
24
     that such Discovery Material is protected under one of the categories of this Order within fourteen
25
     (14) days of the Producing Party learning of the inadvertent failure to designate. The Producing
26
     Party shall reproduce the Protected Material with the correct confidentiality designation within
27
     seven (7) days upon its notification to the Receiving Parties. Upon receiving the Protected
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
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 1
     Material with the correct confidentiality designation, the Receiving Parties shall return or securely
 2
     destroy, at the Producing Party’s option, all Discovery Material that was not designated properly.
 3
                    (b)     A Receiving Party shall not be in breach of this Order for any use of such
 4
     Discovery Material before the Receiving Party receives such notice that such Discovery Material
 5
     is protected under one of the categories of this Order, unless an objectively reasonable person
 6
     would have realized that the Discovery Material should have been appropriately designated with a
 7
     confidentiality designation under this Order. Once a Receiving Party has received notification of
 8
     the correct confidentiality designation for the Protected Material with the correct confidentiality
 9
     designation, the Receiving Party shall treat such Discovery Material (subject to the exception in
10
     Paragraph 15(c)) at the appropriately designated level pursuant to the terms of this Order.
11
                    (c)     Notwithstanding the above, a subsequent designation of
12
     “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” shall
13
     apply on a going forward basis and shall not disqualify anyone who reviewed
14
     “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” materials
15
     while the materials were not marked “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
16
     ONLY” from engaging in the activities set forth in this Order.
17
            16.     INADVERTENT DISCLOSURE NOT AUTHORIZED BY ORDER
18
                    (a)     In the event of a disclosure of any Discovery Material pursuant to this
19
     Order to any person or persons not authorized to receive such disclosure under this Protective
20
     Order, the Party responsible for having made such disclosure, and each Party with knowledge
21
     thereof, shall immediately notify counsel for the Producing Party and the Designating Party
22
     whose Discovery Material has been disclosed and provide to such counsel all known relevant
23
     information concerning the nature and circumstances of the disclosure. The responsible
24
     disclosing Party shall also promptly take all reasonable measures to retrieve the improperly
25
     disclosed Discovery Material and to ensure that no further or greater unauthorized disclosure
26
     and/or use thereof is made
27

28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                          19
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 1
                    (b)     Unauthorized or inadvertent disclosure does not change the status of
 2
     Discovery Material or waive the right to hold the disclosed document or information as Protected.
 3
            17.     FINAL DISPOSITION
 4
                    (a)     Not later than ninety (90) days after the final disposition of this case, as
 5
     defined in Paragraph 5 above, each Party shall return all Discovery Material of a Producing Party
 6
     to the respective outside counsel of the Producing Party or destroy such Material, at the option of
 7
     the Producing Party.
 8
                    (b)     All Parties that have received any such Discovery Material shall certify in
 9
     writing that all such materials have been returned to the respective outside counsel of the
10
     Producing Party or destroyed. Notwithstanding the provisions for return of Discovery Material,
11
     outside counsel may retain one set of pleadings, correspondence, and attorney and consultant
12
     work product (but not document productions) for archival purposes.
13
            18.     MISCELLANEOUS
14
                    (a)     Right to Further Relief. Nothing in this Order abridges the right of any
15
     person to seek its modification by the Court in the future. By stipulating to this Order, the Parties
16
     do not waive the right to argue that certain material may require additional or different
17
     confidentiality protections than those set forth herein.
18
                    (b)     Termination of Matter and Retention of Jurisdiction. The Parties agree that
19
     the terms of this Protective Order shall survive and remain in effect after the Final Disposition of
20
     the above-captioned matter. The Court shall retain jurisdiction after Final Disposition of this
21
     matter to hear and resolve any disputes arising out of this Protective Order.
22
                    (c)     Successors. This Order shall be binding upon the Parties hereto, their
23
     attorneys, and their successors, executors, personal representatives, administrators, heirs, legal
24
     representatives, assigns, subsidiaries, divisions, employees, agents, retained consultants and
25
     experts, and any persons or organizations over which they have direct control.
26
                    (d)     Right to Assert Other Objections. By stipulating to the entry of this
27
     Protective Order, no Party waives any right it otherwise would have to object to disclosing or
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
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 1
     producing any information or item. Similarly, no Party waives any right to object on any ground
 2
     to use in evidence of any of the material covered by this Protective Order. This Order shall not
 3
     constitute a waiver of the right of any Party to claim in this action or otherwise that any
 4
     Discovery Material, or any portion thereof, is privileged or otherwise non-discoverable, or is not
 5
     admissible in evidence in this action or any other proceeding.
 6
                    (e)     Burdens of Proof. Notwithstanding anything to the contrary above,
 7
     nothing in this Protective Order shall be construed to change the burdens of proof or legal
 8
     standards applicable in disputes regarding whether particular Discovery Material is confidential,
 9
     which level of confidentiality is appropriate, whether disclosure should be restricted, and if so,
10
     what restrictions should apply.
11
                    (f)     Modification by Court. This Order is subject to further court order based
12
     upon public policy or other considerations, and the Court may modify this Order sua sponte in the
13
     interests of justice. The United States District Court for the Northern District of California is
14
     responsible for the interpretation and enforcement of this Order. All disputes concerning
15
     Protected Material, however designated, produced under the protection of this Order shall be
16
     resolved by the United States District Court for the Northern District of California.
17
                    (g)     Discovery Rules Remain Unchanged. Nothing herein shall alter or change
18
     in any way the discovery provisions of the Federal Rules of Civil Procedure, the Local Rules for
19
     the United States District Court for the Northern District of California, or the Court’s own orders.
20
     Identification of any individual pursuant to this Protective Order does not make that individual
21
     available for deposition or any other form of discovery outside of the restrictions and procedures
22
     of the Federal Rules of Civil Procedure, the Local Rules for the United States District Court for
23
     the Northern District of California, or the Court’s own orders.
24

25
     Dated: January 23, 2015                        By: /s/ Renee Kennedy
26                                                          Renee Kennedy
                                                           Attorneys for Plaintiffs
27                                                         Patricia Sue Adkins, Jennifer Galindo,
                                                           and Fabrienne English
28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                           21
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 1

 2   Dated: January 23, 2015                     MORRISON & FOERSTER LLP

 3
                                                 By: /s/ Purvi G. Patel
 4                                                      Purvi G. Patel
 5                                                       Attorneys for Defendants
                                                         Apple Inc., AppleCare Service
 6                                                       Company, Inc., and Apple CSC Inc.

 7

 8

 9   IT IS SO ORDERED.

10

11   Dated: January 27, 2015
                                                            HON. WILLIAM H. ORRICK
12                                                            U.S. District Court Judge

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28
     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                              22
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 1                                              EXHIBIT A-1

 2                     ACKNOWLEDGMENT OF CONFIDENTIALITY
                  AND AGREEMENT TO BE BOUND BY PROTECTIVE ORDER
 3

 4          I,                                      , acknowledge and declare that I have received a

 5   copy of the Protective Order (“Order”) in Adkins, et al. v. Apple Inc., et al., United States District

 6   Court, District of Northern California, San Francisco Division, Civil Action No. 3:14-cv-01619-

 7   WHO. Having read and understood the terms of the Order, I agree to be bound by the terms of

 8   the Order and consent to the jurisdiction of said Court for the purpose of any proceeding to

 9   enforce the terms of the Order. I further agree I shall not at any time, either during the pendency

10   of these proceedings or after conclusion of these proceedings, use or divulge any of the

11   CONFIDENTIAL or HIGHLY CONFIDENTIAL INFORMATION made available to me

12   pursuant to the Order.

13

14          Name of individual:

15
            Present occupation/job description:
16

17

18
            Name of Company or Firm:
19

20          Address:
21

22          Dated:
23

24                                                          [Signature]
25

26
27

28
     EXHIBIT A-1
     CASE NO. 3:14-CV-01619-WHO                                                                            1
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 1                                              EXHIBIT A-2

 2         EXPERT/CONSULTANT ACKNOWLEDGMENT OF CONFIDENTIALITY
               AND AGREEMENT TO BE BOUND BY PROTECTIVE ORDER
 3
            I,                                      , acknowledge and declare that I have received a
 4
     copy of the Protective Order (“Order”) in Adkins, et al. v. Apple Inc., et al., United States District
 5
     Court, District of Northern California, San Francisco Division, Civil Action No. 3:14-cv-01619-
 6
     WHO. Having read and understood the terms of the Order, I agree to be bound by the terms of
 7
     the Order and consent to the jurisdiction of said Court for the purpose of any proceeding to
 8
     enforce the terms of the Order.
 9
            By signing below, I hereby confirm that I am not presently employed by, and within the
10
     one year prior to the date of retention as an Expert in these proceedings have not been employed
11
     by, have not provided any form of consulting services to, and have not been and do not anticipate
12
     to be an officer or director or otherwise been involved with decision-making for, any companies
13
     or entities engaged in the manufacture, sale, or distribution of products that compete with Apple’s
14
     iPhone, iPad, iPod, and Mac products, and further agree that: (1) during the pendency of my
15
     retention as an Expert in this case, should I be contemplating or accept employment or consulting
16
     work or other officer, director or decision-making position with any such competing companies, I
17
     will notify the Party or Counsel for whom I am employed in this matter, twenty-one (21) days
18
     prior to commencing any such employment, work or position; and (2) that I shall not at any time,
19
     either during the pendency of these proceedings or after conclusion of these proceedings, use or
20
     divulge any of the CONFIDENTIAL or HIGHLY CONFIDENTIAL INFORMATION –
21
     ATTORNEYS’ EYES ONLY made available to me pursuant to the Order.
22
            Name of individual:
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24
            Present occupation/job description:
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     EXHIBIT A-2
     CASE NO. 3:14-CV-01619-WHO                                                                           1
     sf-3457344
     Case 3:14-cv-01619-WHO Document 125 Filed 01/27/15 Page 26 of 27



 1
            Name of Company or Firm:
 2

 3
            Address:
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 5          Dated:

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 7                                               [Signature]

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     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                 2
     sf-3457344
     Case 3:14-cv-01619-WHO Document 125 Filed 01/27/15 Page 27 of 27



 1
                                          ECF ATTESTATION
 2
             I, Purvi G. Patel, am the ECF user whose ID and password are being used to file this
 3
     [Proposed] Stipulation Protective Order Re Disclosure and Use of Discovery Materials. In
 4
     compliance with Civil Local Rule 5-1(i)(3), I hereby attest that Renee Kennedy has concurred in
 5
     this filing.
 6

 7
     Dated: January 23, 2015                      MORRISON & FOERSTER LLP
 8

 9
                                                  By:   /s/ Purvi G. Patel
10                                                          Purvi G. Patel
11                                                       Attorneys for Defendants
                                                         Apple Inc., AppleCare Service
12                                                       Company, Inc., and Apple CSC Inc.
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     STIPULATED PROTECTIVE ORDER RE DISCLOSURE AND USE OF DISCOVERY MATERIALS
     CASE NO. 3:14-CV-01619-WHO                                                                        3
     sf-3457344
